                                                      UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA

In re:
     BERKELEY PROPERTIES, LLC
     14-41048-RLE

                                                                   Debtor (s)        For the quarter ending:                             06/30/2019

         The revested debtor hereby submits the following post-confirmation report for this calendar quarter:


1.       Date of entry of order confirming plan:                                                                                         07/01/2015

2.       Cash balance at beginning of quarter:                                                                                        $436,733.60
         Total receipts during quarter:                                                                                                  $1,520.93
         Proceeds from Loan (see explanation #2b)                                                                                    $1,136,809.95
         Total cash transfers to parent company to funds distributions at parent level (see explanations, #2a)
         Total disbursements during quarter:                                                                                          $214,484.75
         Cash balance at end of quarter:                                                                                             $1,360,579.73

3.       Payments made pursuant to the Plan this quarter:

         Total payments to be made pursuant to the Plan:                             Payments at parent level only
         Cumulative paid to date:
         Balance remaining to be made under the Plan:


         As of the end of this reporting period                                                                          Yes                  No

4.       Are all payments required by the confirmed plan current
         at this time? [If not, attach explanatory statement
         identifying payments not made (by creditor, amount
         and date due), reason for non-payment, and an
         estimated date as to when payments will be brought
         current.]                                                                                                       X

5.       Do you currently anticipate a circumstance/event
         which will cause an interruption or cessation of
         payments or other performance under the Plan?
         (If yes, attach an explanatory statement.)                                                                      X

6.       Have quarterly fees due to the United States
         Trustee to the date of this report been paid
         pursuant to 28 U.S.C. § 1930(a)(6) and the Plan?                                                                X


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              First report shall be filed for the portion of the calendar quarter from date of confirmation to the end of quarter,
         and subsequent reports shall be filed at the expiration of each calendar quarter thereafter until dismissal,
         conversion or entry of a final decree closing the case. Reports shall be filed with the court and served on the
         UST not later than twenty (20) days after expiration of the reported period.


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                                                                                                     Yes                  No
7.   Have all motions, contested matters, and adversary
     proceedings been resolved? (If no, for each such
     pending motion, contested matter or adversary
     proceeding, identify the parties and nature of the
     dispute and state the anticipated resolution.)                                                  X

8.   Has the order confirming the Plan become
     nonappealable?                                                                                  X

9.   Have deposits, if any, required by the Plan been
     distributed pursuant to the Plan? (If no, please
     explain.)                                                                                       X

10. Has any property proposed by the Plan to be transferred
    been transferred pursuant to the Plan?                                                           X

11. Does any property remain to be transferred pursuant
    to the Plan? (If yes, identify each such property and                              See Explanation
    the anticipated date of transfer pursuant to the                                             X
    Plan.)

12. Has the revested debtor(s) or the successor of the
    debtor(s) assumed the business or management                        Plan Administrator as fiduciary.
    of the property dealt with by the Plan?                                                       X

13. Anticipated date of motion for final decree:                                            12/31/2019

     I declare under penalty of perjury that the statements set forth above are true and accurate.

                             July 5, 2019
                                Dated:                               Responsible Individual (signature)

                                                                     Matthew English, Manager
     Note: On September 30, 2015, the Plan went effective            Arch & Beam Global LLC, Plan Administrator
     with Arch & Beam Global LLC as Plan Administrator.              Print Name


                                                                     Current Address:
                                                                     Second Street Properties & Berkeley Properties LLC
                                                                     c/o Arch & Beam Global LLC, Plan Administrator
                                                                     7 W 41st Ave - #523
                                                                     San Mateo, CA 94403

     * Second Street Properties was previously known as
     Pacific Steel Casting Company.                                  Telephone Number:
                                                                     415-252-2900 x312




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   Explanatory Statements


   2a. Berkeley Properties LLC is a wholly owned subsidiary of Second Street Properties (related case 14-41045-
   RLE). As Berkeley Properties LLC owns the real estate assets, all rents and property taxes are paid to Berkeley
   Properties LLC. All Claims in the Bankruptcy case are against the parent company, Second Street Properties. All
   distributions to creditors in the future will be made from Second Street Properties. It is the Plan Administrator's
   contention that any funds moved from Berkeley Properties LLC to Second Street Properties for the purpose of
   funding a distribution from Second Street Properties to Creditors are NOT disbursements, but rather just
   intercompany funds transfers. The Plan Administrator has used this logic when calculating the quarterly fees to the
   US Trustee, as otherwise, there would be a doubling fees that would not be linked to actual disbursements.
   Therefore, larger US Trustee fees will be paid by Second Street Properties with only the minimal amount from
   Berkeley Properties LLC. Should the US Trustee have a concern with this, please speak to the Plan Administrator:
   Matthew English, Arch & Beam Global LLC, ssp.bp.pa@arch-beam.com.

   2b. For period 4/1/19 to 6/30/19, a new loan was funded from Rubicon Mortgage Fund, LLC. As part of this, there
   were payments made directly by Rubicon Mortgage Fund, LLC for property taxes, interest, interest reserves and
   closing costs of net $363,190.05 that are not included in the disbursements totals.


   5. As per our previous communications, it has been the intention of the bankruptcy estate to do an annual
   distribution each year to creditors. The funds for these distributions were planned to come from the rents received
   from the Debtor’s real estate in Berkeley, CA, after the funding and maintaining of appropriate reserves. The tenant
   of the Debtor’s real estate is Pacific Steel Casting Company LLC (“PSCC LLC”), the company that purchased the
   Second Street Properties’ assets through the bankruptcy.

   Distributions to creditors have always been under the assumption that the bankruptcy estate would continue to
   receive rents from PSCC LLC for the term of the lease as this is the bankruptcy estate’s primary source of cash for
   creditor distributions. Due to its own financial difficulties and shut-down, PSCC LLC vacated the premises on
   November 28th, 2018. This has created significant uncertainty for the bankruptcy estate for future distributions.

   Last year, the Plan Administrator, in consultation with its advisors and with unanimous approval of the Post-
   Confirmation Committee, made a second distribution of 3.25% of unsecured claims (aggregate of about $500,000) to
   unsecured creditors in June 2018, representing a 7% distribution case-to-date . Future distributions will be made
   only should adequate funds be available to make general unsecured distributions and only after setting aside funds
   for critical reserves. Future distributions will be subject to the resolution of certain disputes and the net proceeds
   from real estate sales that have unknown timings and amounts. Although these items were identified risk factors
   inherent with the Plan of Reorganization, it is very disappointing for everyone, especially as our tenant’s decision to
   shut-down is out of our control.

   The Plan Administrator has begun steps to sell the ten properties working with its advisors.




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   Explanatory Statements

   11. The Plan contemplates that the Plan Administrator will make periodic distributions to holders of allowed General
   Unsecured Claims from funds currently on hand and from rents received from the Debtors’ real estate in Berkeley,
   CA, after the funding and maintaining of appropriate reserves. Such interim distributions have been anticipated to be
   made on an annual basis beginning in 2016. A first priority claims distribution was made on 6/30/16. Distributions to
   general unsecured creditors were made on 12/21/16 and 6/30/18. These distributions were for only a small fraction
   of what is owed to creditors (in aggregate, approximately 7%), with additional annual distributions to follow, subject to
   cash availability. The Debtors’ real estate assets are encumbered by a deed of trust that secures potential
   withdrawal liability under ERISA. In July 2020, if no withdrawal liability had been triggered, then the deed of trust
   encumbering the real property would be reconveyed as provided in the Plan, and the Plan Administrator could then
   proceed to market and sell the Debtors’ real property and repay creditors with the proceeds. However, as stated
   above, the beneficiary of the deed of trust, the CMTA-Glass, Molders, Pottery, Plastics and Allied Workers Local
   1648 Pension Trust (the "Trust"), sent the Debtors a default letter on 12/28/17 asserting that withdrawal liability
   under ERISA has been triggered due to PSCC LLC's shut-down and an event of default has occurred under the
   terms of the deed of trust entitling the Trust to exercise remedies under the deed of trust. It is unclear what the full
   impact of this asserted default will be as the Plan Administrator is still investigating.

   Given the complexity of maintaining these real estate assets and length of the likely sale process, during Q2’2019,
   Berkeley Properties LLC closed on a new loan for $2MM from Rubicon Mortgage Fund, LLC (“Rubicon”). The
   proceeds of this new loan will be used to reimburse the Bankruptcy Estate for real estate sale and property
   maintenance expenses from November 1, 2018 through June 30, 2019 and fund future real estate sale and property
   maintenance expenses through the real estate sale closing. As part of this loan, a 1st lien on the real estate assets
   of Berkeley Properties, LLC was given to Rubicon and the Trust subordinated its deed of trust to Rubicon. As of
   6/30/19, $1.5MM has been drawn on this new loan.




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